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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION


 UNITED STATES OF AMERICA,

                   Plaintiff,
                                           Case No. 15-20283
 vs.                                       HON. GEORGE CARAM STEEH

 SVETLANA SRIBNA, et al.,

               Defendants.
 ___________________________________/


             ORDER DENYING DEFENDANT’S MOTION FOR
       EARLY PRODUCTION OF JENCKS ACT MATERIALS (DOC. 153)

        This matter is presently before the Court on defendant Svetlana

 Sribna’s Motion for Early Production of Jencks Act Materials. (Doc. 153).

 The Motion is joined by defendants Jennifer Franklin, Rodney Knight, Tara

 Jackson, Sashanti Morris, Anna Fradlis, and Maryna Pitsenko. Sribna

 requests that the Court order the Government to provide pre-trial

 production of witness statements. 18 U.S.C. § 3500, commonly known as

 the Jencks Act, states that:

             [i]n any criminal prosecution brought by the United
             States, no statement or report in the possession of
             the United States which was made by a
             Government witness or prospective Government



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             witness (other than the defendant) shall be the
             subject of subpoena, discovery, or inspection until
             said witness has testified on direct examination in
             the trial of the case.

 18 U.S.C. § 3500(a). Sribna acknowledges the statute, but nevertheless

 requests that this evidence be produced before witnesses testify. She

 argues that failure to disclose violates her rights under the Fifth and

 Fourteenth Amendments. Sribna’s argument fails. The statute is clear; the

 Government need not disclose this information until the witness has

 testified on direction examination. 18 U.S.C. § 3500(a). Moreover, “[t]he

 Sixth Circuit has expressly held that the Government has no obligation to

 disclose and the trial court has no discretion to require disclose of Jencks

 Act material before a witness testifies.” United States v. Boykins, 915 F.2d

 1573 (6th Cir. 1990) (Table) (citing United States v. Algie, 667 F.2d 569,

 571 (6th Cir. 1982)). See also United States v. Presser, 844 F.2d 1275,

 1283 (6th Cir. 1988) (“The clear and consistent rule of this circuit is that the

 intent of Congress expressed in the Act must be adhered to and, thus, the

 government may not be compelled to disclose Jencks Act material before

 trial.”).




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      For the reasons stated above, defendant’s motion is DENIED.

 IT IS SO ORDERED.

 Dated: July 31, 2017



                                           S/George Caram Steeh
                                           GEORGE CARAM STEEH
                                           UNITED STATES DISTRICT JUDGE


                                CERTIFICATE OF SERVICE

                 Copies of this Order were served upon attorneys of record on
                      July 31, 2017, by electronic and/or ordinary mail.

                                    s/Marcia Beauchemin
                                        Deputy Clerk




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